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                    Exhibit B
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                                                  December 11, 2012

      VIA ELECTRONIC MAIL
      The Honorable Sally Shushan
      United States District Court
      Eastern District of Louisiana
      United States Courthouse
      500 Poydras Street
      New Orleans, LA 70130

                         Re:      BP's Supplemental Response To Class Counsel's Proposed Supplemental
                                  Information Program

      Dear Judge Shushan:

              Last Friday I wrote on behalf of BP to express its concerns regarding certain aspects of
      Class Counsel's proposed Supplemental Information Program ("SIP"). Both Mr. Michael
      Juneau and Class Counsel have now communicated to Your Honor to address issues beyond the
      scope of the point BP made in my Friday letter. BP submits this brief supplemental response to
      restate and if necessary, to clarify, its specific objections to Class Counsel's proposed
      Supplemental Information Program.

                BP has four simple objections to the substance ofthe proposed SIP:

              First, BP objects to the proposed SIP because it is not consistent with the original official
      Court-approved Notice Program, which specifies that the Settlement Program is designed to
      compensate for economic losses arising from the Deepwater Horizon spill. That inconsistency
      raises substantial risks of confusing and misleading both non-class members and potential class
      members, in violation of Rule 23, and Section 4.4.15 of the Amended Settlement Agreement
      ("Settlement Agreement"), which requires that any supplemental information program be
      "consistent with the goals of the Economic Class Action Settlement Notice Program."

              Second, the proposed SIP is inconsistent with the provisions of the Settlement Agreement
      which expressly state that it provides compensation only for economic losses that were caused by
      the Deepwater Horizon Incident. See Settlement Agreement §§ 1.3.1.2, 1.3.1.3, 1.3.1.5,
      1.3.1.10, 38.15, 38.42, 38.57, 38.63, 38.84, 38.155. See also Long-Form Notice at 1 ("If you had


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economic loss or property damage because of the Deepwater Horizon oil spill, you could get
money from a class action settlement"), 12.

       Third, the proposed additional web-site, in addition to the official web-site of the Court-
Supervised Settlement Program, is both unnecessary and confusing.

        Fourth, the proposed SIP advertisements are misleading and confusing because they omit
to mention that a claimant is only entitled to make a claim for damages caused by the DWH spill.
That requirement is expressly provided for both in the Settlement Agreement and in the Court-
approved Notice describing it, see supra, and by the sworn Claim Forms developed by the
Settlement Program with the input and consent of the Parties. See, e.g., Registration Form at 1,
item 1 ("To make a claim under the Deepwater Horizon Economic and Property Damages
Settlement Agreement (the "Settlement'? for damages arising from the Deepwater Horizon
Incident on April 20, 2010 (the "Spill"), you must complete and submit this Registration Form
and all documentation required by the Settlement ... ") (emphasis added); Business Economic
Loss Claim Form at 1 ("To make a Business Economic Loss Claim under the Deepwater
Horizon Economic and Property Damages Settlement Agreement (the "Settlement'? for
damages arising from the Deepwater Horizon Incident on April 20, 2010 (the "Spill"), you
must complete and submit this Claim Form and all documentation ... ") (emphasis added);
Business Economic Loss Claim Form Instructions at 1.

        In addition to its four objections to the SIP, BP also has a procedural concern relating to
the proposed role of the Claims Administrator in making television advertisements. Class
Counsel has not cited, and we are not familiar with, any precedent for having a Court-appointed
Special Master or Claims Administrator making such television advertisements regarding a
claims facility and settlement. Given the special role of the Claims Administrator under the
Court's supervision, this proposed novel role and its implications raises questions and concerns
that, at the very least, warrant further discussion among the parties, as well as some legal
research, so that the parties, the Administrator and the Court may consider the issue with the
benefit of a fully developed record. BP believes such a thorough, careful vetting of the issues and
possible implications is in the best interests not only of the Class, the PSC, and BP, but also of
the Court and the Claims Administrator.

       Finally, I should note what BP is not asking for. In this regard, and contrary to Class
Counsel's suggestion, BP is not asking Mr. Juneau to engage in a subjective analysis or
examination of whether a claimant's loss was or was not caused by the spill. BP clearly stated
that position in its letter dated September 28, 2012. What BP is saying, however, is that the
Settlement Agreement itself as well as the sworn claim forms require, as a prerequisite to making
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a claim, that the injury for which the claim is submitted "aris[e] from" or be "caused by" the
spill. It is for that reason that, as noted in BP's September 28 letter, cases in which the
quantitative tests of the Settlement Agreement are satisfied but there was no actual causation
attributable to the DWH spill should be relatively rare. The vice in the proposed SIP spots is that
by omitting the requirement that the spill caused the loss, the spots would encourage viewers to
submit claims for losses that have nothing to do with the oil spill and are not covered by the
Settlement.

        If Your Honor has any questions about BP's position, please let me know. We intend,
however, to reach out to Class Counsel to see whether we can - as we have done with many
other issues in this case - work through our objections and concern so as to be able either to
present an agreed-upon SIP to the Court or, alternatively, to narrow the issues in dispute.

                                                     Respectfully submitted,

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                                                     Richard C. Godfrey, P. .

Cc:    James Roy
       Steve Herman
       Pat Juneau
       Michael Juneau
       David Odom
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       Ben Allums



RCG/cpl
